                      CASE 0:22-cr-00076-KMM-TNL Doc. 106 Filed 11/07/22 Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.
     SHEVIRIO KAVIRION CHILDS-YOUNG,         Criminal No. 22-cr-076(1) (KMM/TNL)
                              Defendant,

                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X)Ad Prosequendum           ( )Ad Testificandum

Name of Detainee: Shevirio Kavirion Childs-Young
Detained at (custodian): Minnesota Correctional Facility–Rush City

The government is requesting the Federal Bureau of Investigation / Minneapolis Police Department to
transport detainee.

Detainee is:       a.)    (X) charged in this district by: Indictment
                   Charging Detainee With: Conspiracy to Use Firearms During and in Relation to Crimes of
            Violence
            or     b.)    ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  (X) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  ( ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on November 8, 2022 at 12:00 p.m. in the courtroom of The Honorable Tony N.
Leung.

Dated: November 7, 2022                                                                         s/Thomas Calhoun-Lopez___________
                                                                                                THOMAS CALHOUN-LOPEZ, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X)Ad Prosequendum                              ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

 November 7, 2022
____________________________________                                                         s/John F. Docherty
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):            Rio                                                         Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:
     Facility Address:                                                                                 Race:
                                                                                                       FBI #:
     Facility Phone:
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)



                                                                                                                                                 Writ issued 11/7/2022
